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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )              CASE NO. 8:07CR426
                                               )
              Plaintiff,                       )
                                               )
              vs.                              )                     ORDER
                                               )
BENNY WILSON,                                  )
                                               )
              Defendant.                       )

       This matter is before the Court on the Defendant’s motion (Filing No. 85) to restrict

the filing of the Defendant’s brief in support of his motion in limine (Filing No. 86) pursuant

to the E-Government Act.

       IT IS ORDERED:

       1.     The Defendant’s motion (Filing No. 85) is granted; and

       2.     The Defendant’s brief in support of his motion in limine (Filing No. 86) shall

              be restricted pursuant to the E-Government Act.

       DATED this 13th day of June, 2008.

                                                   BY THE COURT:


                                                   s/Laurie Smith Camp
                                                   United States District Judge
